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The following constitutes the ruling of the court and has the force and effect therein described.



Signed April 7, 2020
                                            United States Bankruptcy Judge
  ______________________________________________________________________



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                     WICHITA FALLS DIVISION

     IN RE:                                             §
                                                        §
     BOWIE REAL ESTATE HOLDINGS, LP.                    §     CASE NO. 20-70115-HDH-11
                                                        §          (Chapter 11)
     DEBTOR                                             §

                    ORDER GRANTING EMERGENCY MOTION TO
         RESTRICT PUBLIC ACCESS TO ATTACHMENT TO VOLUNTARY PETITION

              Came on for consideration the Emergency Motion to Restrict Public Access to

     Attachment to Voluntary Petition by Bowie Real Estate Holdings, LP (“Debtor”). The Court,

     having considered the Motion, finds that the relief requested therein should be granted. IT IS

     THEREFORE,

              ORDERED that public access should be, and hereby is restricted to Docket No. 1 and its

     attachments. IT IS FURTHER,

              ORDERED that the Debtor’s amended voluntary petition with a copy of the redacted tax

     return satisfies the requirement for the Debtor to file its last available tax return.

                                              ### END OF ORDER ###


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